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10,                                            CHARLOTTESVILLE DIW SION

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.            ELIZABETH SIN ES
                                 etal.                          CaseNo:3:17ccv-00072-NKM                             .
14                        ' Pl
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15           vs.                                                RICHARD B .SPEN CER,S'
                                                                                     POSITION ox psxom o
16                                                              MOTION TO WITHDRAW
             JASON KESSLER eta/.,
17                           oeendant
18
                            Richard B.Spencer,representedby counselJohnDiNucci,hereby informstheCourtthathe
19
             opposesM OTION FOR LEAVE TO W ITHDRAW ASCOUNSEL OF RECORD sled by John DiNuccionM ay 15,
20
             2020.ThispositionreflectstheconsiderationofpotentialprejudicecausedbythegrantingofsaidMOTION inlight
21
             ofthepublicnatureofthecaseand itsattendantdefendants.
22
                            Dated this29 ofM ay,2020.
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25                                                               ichardB.Spencer
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             RICHARD B .SPEN CER'SPO SITION ON PEN DW G M OTION TO W ITIIDRAW -1
